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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)                         )   MDL No. 2592
PRODUCTS LIABILITY LITIGATION                        )
                                                     )   SECTION: L
                                                     )   JUDGE ELDON E. FALLON
THIS DOCUMENT RELATES TO:                            )   MAGISTRATE JUDGE NORTH
JOHN HARRIS                                          )
Civil Action No.: 2:16-cv-3055                       )
                                                     )

RESPONSE TO ORDER TO SHOW CAUSE AND REQUEST TO BE EXCUSED FROM
  APPEARING AT CASE MANAGEMENT ORDER 12A SHOW CAUSE HEARING

         COMES NOW, Plaintiff John Harris, by and through his undersigned Counsel of record,

and respectfully submits this response to the Order to Show Cause filed on September 20, 2019

and states as follows:

       1. On September 20, 2019, this Court issued an Order to Show Cause as to why certain

actions, including the above-captioned action, should not be dismissed with prejudice for failure

to comply with CMO No. 12A.

       2. On July 14, 2019, Plaintiff signed and completed an executed Enrollment Election

Form and Release indicating his intent to enroll in the Xarelto Settlement Program.

       3. On August 4, 2019, Counsel’s office for the Plaintiff inadvertently submitted an

executed Enrollment Election Form, Release and Stipulation of Dismissal for a different claimant.

       4. Counsel for the Plaintiff was not aware of the deficiency in Plaintiff’s case as Counsel

was not notified by email (which was a departure from Brown Greer’s established procedure) that

a Notice of Incomplete Enrollment had been posted in the Plaintiff’s case on September 17, 2019.

       5. Counsel did in fact receive an email on September 17, 2019 advising of deficiencies

for other claimants which resulted in actions to cure and those cases are not subject to the Order

to Show Cause.
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       6. The Notice of Incomplete Enrollment enables Plaintiff to cure the deficiency in his

case by October 8, 2019.

       7. Counsel for the Plaintiff only learned of this deficiency yesterday, on October 3, after

we received an email from lead counsel’s office attaching four separate Orders to Show Cause,

one which listed Plaintiff’s case as subject to the Order.

       8. Surprised to see Plaintiff’s case on Exhibit A of one of the supplement Orders we

believed we timely enrolled, we checked MDL Centrality and determined that we had

inadvertently filed forms for a different claimant under Plaintiff’s tab. Thus we immediately

corrected the deficiency by uploading the correct Enrollment Election Form and Release signed

and completed by the Plaintiff on July 14, 2019.

       9. WHEREFORE, Plaintiff has complied with the Court’s Case Management Orders and

Counsel for Plaintiff respectfully requests that Counsel for the Plaintiff and Plaintiff’s attendance

at the Show Cause Hearing currently scheduled for October 7, 2019 be excused and that Plaintiff’s

case not be dismissed.


        This 4th day of October, 2019.


                                       By:     /s/Lauren Weitz
                                               Lauren Weitz
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                                               700 Broadway
                                               New York, NY 10003
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                                               E-mail: lweitz@weitzlux.com

                                              ATTORNEY FOR PLAINTIFF

                                              Dated: October 4, 2019
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                                CERTIFICATE OF SERVICE

       I hereby certify that on October 4, 2019, I electronically filed the foregoing with the Clerk

of Court using the CM/ECF system, which shall send electronic notification of such filing to all

CM/ECF participants.

                                      By:    /s/Lauren Weitz
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